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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,       Case No. 4:20-cv-00957-SDJ

 v.                                       Hon. Sean D. Jordan

 Google LLC,
                                          Special Master: David T. Moran
                        Defendants.




            PLAINTIFF STATES’ RESPONSE TO GOOGLE’S THIRD BRIEF
                          TO THE SPECIAL MASTER
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       The Plaintiff States (“States”) submit this response to Google’s “Third Brief on Discovery

Impasses,” filed on March 12, 2024 (ECF No. 291).

                                         INTRODUCTION

       Google raises two purported issues in its brief that, like in the past, do not warrant any

action by the Special Master.

       First, Google asserts that certain (but not all) States’ document collection efforts and

productions are inadequate. Notably, Google’s silence as to the other States shows that it has no

issue with the other eight States. Prior to Google’s brief, those eight States (Texas, Alaska, Florida,

Idaho, Kentucky, Nevada, North Dakota, and South Carolina) detailed to Google and/or met and

conferred with Google on their document collection efforts and productions. As to the nine States

identified in Google’s brief, as detailed below, those States did much of the same and, on the issues

raised by Google, are either still conferring with Google or have resolved the issues, contrary to

Google’s assertions.

       Second, Google baldly complains that the States “have yet to offer their availability for

deposition” for Google’s 17 Rule 30(b)(6) notices that Google served just last week. With no

delay, the States met and conferred with Google on those notices this week on Wednesday, March

13, 2024, followed by exchanged correspondence (Ex. A, 3/14/24 Emails) showing quite clearly

that the States are conferring with Google in detail and in good faith on those notices. Google’s

complaint is particularly stunning in light of Google’s own failures to meet its obligations under

Rule 30(b)(6). Despite having two weeks to prepare and produce the Rule 30(b)(6) custodian

witness on its dashboards, ordered by the Special Master on February 25, Google presented a

witness utterly lacking in relevant knowledge about Google’s dashboards. See ECF No. 293 at 1-

5. Google has also failed to offer—much less discuss or respond in any detail—any witnesses in

response to the States’ Rule 30(b)(6) notice to Google, which was served three weeks ago, or two
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weeks before Google’s Rule 30(b)(6) notice. See id. at 5-6. That is despite repeated requests

from the States. See Ex. A at 2, 6, 8, 10. In short, the States are actively conferring with Google

to meet their Rule 30(b)(6) obligations, while Google has not and is still not.

                                          ARGUMENTS

  I.   Google’s Arguments regarding Certain States’ Document Productions Have Either
       Been Resolved or Are the Subject of Ongoing Meet and Confers.

       As even Google acknowledges, the individual States have worked diligently to confer with

Google and resolve any remaining purported issues Google may have with their document

collection and production efforts. See ECF No. 291 at 1 (“Google met and conferred with

Mississippi on March 11th and it has agreed to provide further clarity about its search process.”).

With no real complaint to brief during this round of discovery briefing, Google instead targets

issues that are resolved or are in the process of being resolved.

       A.      The States have provided, or will provide (Missouri and South Dakota),
               Google with explanations of their document collection efforts.

       Google first complains about two states, Missouri and South Dakota, that had not provided

descriptions of their document collection processes. Notably, at the time it filed its brief on March

12, 2024 (and well before that), fifteen of the seventeen States had provided Google information

regarding their document collection efforts. ECF No. 291 at 1. Missouri provided Google that

information on March 15, 2024, and, at the time of the filing of this brief, the States had not

received an update from South Dakota and will supplement once they receive an update.

       B.      Mississippi, Louisiana, and Indiana have conferred or are conferring with
               Google regarding searches for third-party communications.

       While they disagree with Google’s characterization of their efforts so far, Louisiana and

Indiana have met and conferred or will meet and confer with Google on conducting reasonable

searches for any additional third-party communications and will produce anything non-privileged


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and relevant. As for Mississippi, as Google itself stated: “During a meet and confer this week,

Mississippi agreed to provide more detail about its broader search methodology.” ECF No. 291

at 3. Again, importantly, Google does not argue against the efforts of the other States in their

collections and productions of third-party communications.

          C.      Puerto Rico is conducting further investigation and is willing to confer with
                  Google on the issue of whether Puerto Rico purchases display ads.

          Despite the fact that Google itself would have records of the entities that purchase display

advertising through a Google product, Google argues that Puerto Rico has not adequately

determined that it does not use display advertising.               Puerto Rico disputes Google’s

characterizations and has conducted a reasonable inquiry, and its position—as set forth in its prior

responses to Google's written discovery and correspondence with counsel related thereto—

remains that Puerto Rico does not purchase display ads on its own behalf and therefore does not

possess responsive documents. Puerto Rico is nonetheless investigating further and is willing to

confer with Google on the issue.

          D.      The seven States either have publicly available document retention policies
                  that they have directed Google to or produced, or have none to produce.

          As outlined below, Google’s claims that certain States have failed to produce retention

policies is unfounded:

              The retention policies of Missouri1, Montana, and Utah are all publicly available

               online. Montana nonetheless produced its policies to Google. Utah responded to

               Google’s request for production in the States’ correspondence to Google of February

               16, 2024, stating that all Utah’s document retention policies are searchable and

               available online and directing Google to the website to download those policies from,


1
    https://www.sos.mo.gov/records/recmgmt/retention

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              including giving Google links to the document retention policies for the Office of the

              Attorney General and the Division of Consumer Protection (and in fact, for all agencies

              of the State of Utah). Ex. B at 10 (excerpted). Google continued to assert that it never

              received this information during a meet and confer session on March 14, 2024, and

              Utah again gave the links to Google via email that day. For Google to continue argue

              that it does not have these policies is flatly inaccurate.

             Arkansas and Louisiana do not have any written, responsive retention policies to

              produce and have communicated this to Google in their responses to Google’s Requests

              for Production.

             While Puerto Rico does not have any responsive documents to the request for a

              document retention policy, it is conducting further searches and will produce any that

              are found as a result.

          Importantly, Google has no issues with the ten other States, and the above States that

Google claims to have issues with are not withholding responsive retention policies and are willing

to further confer with Google on this issue.2

    II.   The States Are Conferring in Good Faith with Google on Its Week-Old Rule 30(b)(6)
          Notices—Yet Have Waited for Three Weeks for Rule 30(b)(6) Witnesses from Google.

          The Special Master should deny Google’s request as not ripe. Google only served its Rule

30(b)(6) notices on the States on March 5, 2024. ECF No. 291 at 4. Contrary to Google’s brief

and its counsel’s certificate of conference, however, the Parties had not yet met and conferred

regarding those notices. The contemporaneous emails show that on March 8, 2024, the Parties

discussed only the first 20 topics from the States to Google; the Parties agreed to take up Google’s


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 At the time of the filing of this brief, the States had not received an update from South Dakota and will
supplement once they receive an update.

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topics the following week. See Ex. A at 10. The Parties agreed and took up the topics on March

13, 2024, the date Google requested and a day after their brief to the Special Master. See id. at 8;

ECF No. 291. Progress was made, no impasse was declared, and the Parties agreed to continue

discussions with the individual States early next week. See Ex. A at 1. Accordingly, this issue is

not ripe for the Special Master.

        Google’s protestations, however, further highlight its own failings. It is a maxim of this

Court that “he who comes into equity must come with clean hands.” Precision Instrument Mfg.

Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814 (1945). While Google believes it is entitled to

relief because the States had not responded in 7 days, Google is delinquent in its own obligations.

The States served their Rule 30(b)(6) notice on February 21, 2024 – nearly two weeks before

Google served its own Rule 30(b)(6) notices. Google, however has not provided objections and

responses, and has failed to respond to repeated emails from the States. See Ex. A at 2, 6, 8, 10.

Having failed to meaningfully respond to the States’ deposition notice, Google cannot now run to

the Court for relief.

        Google’s other assertions are likewise unfounded. Google’s Rule 30(b)(6) notices are far

from “narrow” or reducible to one witness per State. Nearly all of them seek wide-ranging

testimony from each States’ Offices of Attorney General regarding their common-interest, pre-suit

investigation; their attorneys’ evaluation, impressions, and opinions of evidence and potential

claims; how those attorneys made and make strategic litigation decisions in this case; the full scope

of every interrogatory and request for admission response in this case; or information that Google

has much more easily and already obtained, or can obtain, through other means like interrogatory

responses, document productions, the discovery correspondence the States are voluntarily

providing, and declarations.



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        Accordingly, the Special Master should reject Google’s request for relief with respect to

its Rule 30(b)(6) notices to the States.

                                           CONCLUSION

        For the foregoing reasons, no relief is warranted or should be granted in response to

Google’s “Third Brief on Discovery Impasses” (ECF No. 291).



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                                 CERTIFICATE OF SERVICE

        I certify that, on March 15, 2024, this document was filed electronically in compliance with

 Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

 Rule CV-5(a)(3)(A).

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